Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 1 of 51 l

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_` _r _ ' i’;_=: ‘1 ‘U
lV|OVANT DAV|D ANDREW CHR|STENSON _ Case No. 1:1B-CV-09433-LGS
PEN AN|ER|CAN CENTER, |NC. JUDGE LORNA G. SCHOF|ELD
P|aintiff, `
COIVlPLA|NT FOR DECLARATORY
v. AND |NJUN_C`[|_VE R_E_LlE_F_ j;»)¢_;¢_--;_`|
USIJ'C S\.»I" "lj`l ‘
DONAL_D J. TRU|V|P, in his official capacity D©C _UU£T ]j.j |
as President ofthe United States E L:-Cw pci l;(:/\L jj g ,"__..§r.-.l: -::\
Defendant. 11 ’ *' 4`
DO'L. #:
Friend of the Court/Amicus Brief

 

lam filing this Amicus/Friend of the Court Brief on behalf of all Americans in accordance with the_ j `
Constitution/First Amendment/Last Sentence of the First Amendment:' and to petition the Government §
for a redress of grievances”. This information is critical if the Republic is to survive.

This Amicus Brief is being filed by a terrorist. Our country was founded by terrorists. lt was terrorists
that drafted the Dec|aration of independence and the Constitution. Would l have been classified as a
terrorist if l was wrong? They invoked the Patriot Act because of my research and writings.

§> Democratic Nationa| Committee Chairman/Deputy Attorney General for Civil Rights Thomas
Perez and Specia| Counsel/FBI Director Robert lVlueller classified me as a terrorist in 2010.
Reference: Christenson v. Democratic Nationa| Committee (1:18-cv-05769) District Court, S.D.
New York, (18-2145) Court of Appeals Second Circuit

B> Attorney General l\/latthew Whita ker was my attorney in 2011. Reference: Democratic Nationa|
Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D. New York
One Hundred 5eventeenth (117th) Emergency lVlotion for Reconsideration (Attached)
judge John G. Koe|t| docketed more than 50 of my pleadings and that included several pleadings
about Theodore John "Ted" |<aczynski (The Unabomber). Judge Koe|t| docketed the ”Nlanifesto”.

`P The Senate approved BP Attorney (Kirk|and & E|lis LLP) Jeffrey Bossert C|ark for assistant
attorney general for the U.S. Department ofJustice's Environment and Natura| Resources
Division on Thursday, October 11th, 2018. ***l am the reason it took 17 months to confirm
.Ieffrey Bossert C|ark*** Reference: Democratic National Committee v. The Russian Federation
(1:18-cv-03501) District Court, S.D. New York - One Hundred Fifth (105th) Emergency lVlotion for
Reconsideration (Attached)

 

The following factua|, documented and verifiable information was used by President Barack Obama,
Attorney General Eric Ho|der, Deputy Attorney General Thomas Perez, FB| Director Robert lVlue||er, etc.
to classify me as a terrorist in 2010. |Vly attorney in 2011 was Attorney General lVlatthew Whitaker and
his reward for irreparably harming me and the American People was to become Attorney General. l am
a graduate of the United State Air Force Academy who served his country with distinction.

Case 1:18`-cv-09433-LGS Document 22 Filed 12/12/18 Page 2 of 51

Mankind will cease to exist by October 12‘h, 2050. This is not a prophecy or prediction but a
mathematical certaintv. Suicides will outnumber births in the next few years. Suicide and Murder{s)-
Suicide s have become a life choice. Life ex ectancies are decreasin and the decrease would be
more pronounced if legal and illegal immigrants from the last thirty years were excluded. Birth rates
are negative and when the birth rate reaches a negative three i-?.%} percent there will be no way to
recover and Nlankind will cease to exist. We have lost the ability and desire to procreate.

   

We are 20 Tri||ion Do||ars in debt and increasing that debt every year by more than 1 Tri||ion Dol|ars. |n
the next few years the interest expense will exceed what we spend on National Defense, |Vledicaid and
child health care. How do we pay for our medical care? We are at epidemic rates/levels for Alzheimer’s,
Parkinson's, Mu|tiple Sclerosis, Autism, A||ergies, Asthma, Suicide(s), |Vlurder(s)-Suicide(s), Diabetes,
lVluscular Dystrophy, Fibromya|gia, |nf|uenza and Pneumonia deaths, etc. Al| are connected to a degraded
immune System(s). We must have an uncensored dialogue about vaccinations and the long-term harm
they do to our immune system(s). Our Government has turned us into “Bubb|e Peop|e”, a vaccination for
everything

Our Gross National Product (GNP) is roughly 19 tri||ion dollars. Our economy is growing at a rate that
averages 3%. Simplistica|ly - our economy is 20 trillion dollars and it grows at 3%. That is 600 billion

dollars. Our government deficit spends that and more. There is no way for our government to repa_y
the debt. This non-partisan Congressiona| Budget Office has confirmed this fact.

We must have an uncensored dialogue if |Vlankind is to survive. lam not even touching climate change.

Reference the Wits of iv|andamus and Prohibition that | filed With the Supreme Court.
https://www.supremecourt.gov/docket/docket.aspx?$earch=&tvpe=Docl<et

incorporated into this pleading is a representative Amicus Brief that is currently being filed in multiple

district courts and appellate courts in multiple cases, both civil and crimina|. State of |Vlaryland v. United
States of America (1:18-cv-02849) District Court, D. Nlarylancl.

Godspeed

   
   

 

 

ristenson
Box 9063

IVliramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmai|.com;

dchristenson€@hotmail.com;

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 3 of 51

uNn'ED sTATEs DlsTRlcr co':u'R'T 'Y .
souTHERN DisTRlcT oF NEyy_voRK

l
i\/|ova nt David Andrew Christenson :Civi| Ac`tior'i lillal. 1:18-cv-03501 `
DElVlOCRATlC NAT|ONAL COlVll\/ll'l_l'EE, RaCl<éti-Eél” lnflUEnCed and `

Corrupt Organization Act (RlCO) i
P|aintiff, i
v. Judge john G. Koe|t|

RUSS|AN FEDERAT|ON, et a|;
Defendants.

One Hundred Seventeenth (117th) Emergency l\/lotion for Reconsideration

Yesterday morning | walked away from my quest to save |Vlankind. l quit. l told God l was through and
that if he wanted me to continue, he needed to give me a real sign. Guess what? God gave me a sign via
a baseball bat to the head.

ivlatthew Whitaker is the acting Attorney General
This factual story is unbelievable and there is no way to tell it in a coherent manner.

US Attorney Nlatthew Whitaker from lowa is my father's attorney and the person that had US

Attorney Bil|y Gibbens represent me in my arrest for cyber stalking an FB| Agent in New Orleans. Yes,
a US Attorney represented me and gave away all of my rights.

 

| am directly connected to Attorney General |Vlatthew Whitaker, Assistant Attorney General for the
Environment and Natura| Resources Division Jeffery Bossert C|ark and Special Prosecutor Robert
l\/luel|er. Each of these individuals irreparable harmed me and thus irreparable harmed all Americans.
They are responsible for the Genocide of N|an|<ind. [Clark represented BP Oil in my appeal with the 5th
Circuit. Vou must review the extensive docket. 5“‘ Circuit Case: 16-30918 |N RE: DEEPWATER HOR|ZON
LAKE EUGEN|E LAND & DEVELOPl\/|ENT, |NCORPORATED; ET AL, Plaintiffs v. BP EXPLORAT|ON &
PRODUCTION, |NCORPORATED; BP AlV|ERlCA PRODUCT|ON COlVlPANY; BP, P.l_.C., Defendants -
Appe||ees.)

| am from lowa. |Viy father is from lowa, he is a Republican and he donates to the Republican Party.
i\/iatthew Whitaker is from lowa and he is a Republican. lVly father retained him as an attorney and
donated money to his campaign. lV|atthew Whitaker was the US Attorney for the Southern District of
lowa.

l have been estranged from my father for most of my adult life but when | was falsely arrested on a
Louisiana Warrant (misdemeanor) for Cyber Stalking an FB| Agent my wife called him. | was never
charged with a crime. le father left New Or|eans and left me in jail because of |Vlatthew Whitaker. N|y

Case 1:18-cv-09433-'LGS Document 22 Filed 12/12/18 Page 4 of 51

father is a real sunarcissist. The DOJ put (my own father) me in isolation for 11 days and medicated me
against my will. They did the same thing to Coast Guard Comma nder Wi||iam Goetzee four months later
and he died. The DOJ murdered him. When he was in Federal Court, they had him strapped to a
wheelchair and they would tase him when he tried to speak. Read the family's complaint.

Reference: Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court,
S.D. New York John George Koe|tl

Christenson v. Democratic National Committee (1:18-cv-05769) District Court, S.D. New York Judge
Co||een lVlclV|ahon

The information | am sharing with you has been filed in 30 plus cases in four Appeals Courts and three
District Courts. lt also has been filed with the Supreme Court in the four Writs that l filed. Search Pacer
and the Supreme Court for; David Andrew Christenson.

Docket for 1:18-cv-03501 SDNY 113 pages - |Vlotion for Leave to File: l\/lotion to intervene and |V|otion to
Join filed by David Andrew Christenson on April 24th, 2018. Judge Koe|tl docketed over fifty of my
pleadings.

Docl<et 25

Pages 24 - 27 Non-Domestic Stay Away Order FB| Director Robert lV|ueller is on it. 74 people are listed
and l did not know 66 of them. Athird of them are court clerks. Two US Senators, a Bishop and a
building They even listed my friends and attorneys.

Page 56 - A press release about my arrest that was a gross mistake on the part of the DOJ.

Pages 57 & 58 - Bond Order and Conditions of Bail. They original asked for 5500,000.00 bail for a
misdemeanor. Order 3 is no internet so l could not do research. Order 9 waives my rights for a year and
is not a requirement for bond. They put an electronic monitoring device on my ankle.

Page 59 |Vlemorandum about US Attorney Billy Gibbens representing me in my arrest and waiving all of
my rights. Look at his bill. His job was to keep me in jail or confined to a psychiatric prison.

| was ordered to leave Louisiana and go to Florida to receive treatment for an unspecified mental
illness. They wanted me out of New Orleans while the Danziger Trial was taking place.

 

During Hurricane Katrina the US Militarv murdered Americans and the Katrina Virus was released
because of negligence.

Read the 50 plus pleadings for the rest of the story.
Godspeed

Sincerely,

David Andrew Christenson

Box 9063

lVliramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmai|.com;

dchristenson6@hotmail.com;

L 7 _

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 5 of 51 l

- uNiTED sTATEs DisTRlcT couRr __ ` ' ' ' 5
souTHERN olsTRlcT or NEW YoRi< - " - ~ a

i\/iovant David Andrew Christenson Civil Action No. 1:'1"8-`c4v-03501

DEi\/lOCRATiC NAT|ONAL COiVilViiTi'EE, Racl<eteer influenced and
Corrupt Organization Act (RlCO)

Plaintiff,

y_ Judge John G. Koe|tl

RUSSiAN FEDERAT|ON, et ai;
Defendants.

One Hundred Fifth (105“‘) Emergency Niotion for Reconsideration

The Senate approved BP Attorney (i(irkland & E||is LLP) Jeffrey Bossert Clark for assistant attorney
general for the U.S. Department ofiustice's Environment and Natural Resources Division on Thursday,
October llth, 2018. THE R|VER OF DEATH ls The Gul'f Stream.

This is the position, number three man at the Department ofJustice, that is supposed to protect the
American People, not be the Nazi Doctor Josef |Vienge|e of our time.

This truly signals the end of |Vlankind for two reasons. First, C|ark does not believe in climate change or
climate warming. Second, he has covered up the truth about the BP Oil Spill and the Katrina Virus.

***i am the reason it took 17 months to confirm Jeffrey Bossert Ciark***

See the attached motion which has been filed/docketed in multiple courts including this one and the
Supreme Court

iviotion to Reopen the (BP) Settiement and to increase the Settlement to 20 Trillion Dolia rs
Niotion to Create a 20 Trillion Dollar iViedical Settlement
iViotion for Punitive (Treble) Damages (120 Trillion Dollars)
|Vlotion to add the United States of America and the United Kingdom (Britain) as Defendants
The American People deserve to know the truth so please do not Seal this pleading.
August 18th, 2016

***You children and grandchildren will need this money for medical and mental health care***

(SDNY Case 1:18-cv-03501-JGK Document 25 Filed 04/24/18 Page 70 of 113)
(DCDC Case 1:18-cv-00011-ABJ Document 15 Filed 01/26/18 Page 1 of 89)
(5"‘ Circuit Case: 16-30918 Document: 00514216429 Page: 6 of 19 Date Filed: 10/30/2017)
{Supreme COUr`i Writs: 16-6345, 16-6278, 16-5869 and 14-10077)

CENSORSH|P |N lTS TRUEST FORM BY THE SUPREME COURT OF THE UNITED STATES -THE SUPREN|E
COURT DOES NOT PUBL|CLY DOC|(ET WR|TS

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 6 of 51

C|ark was first nominated by the President on June 7"‘, 2017 but the nomination was returned by the
Senate on January 3'°‘, 2018. https://www.congress.gov/nomination/llSth-congress/584

C|ark was re-nominated by the President on January Btl‘, 2018 and ultimately confirmed on October 11"‘,
2018. https://www.congress.gov/nomination/115th-congress/1407

How and why is Jeffery Bossert C|ark is connected to David Andrew Christenson?
C|ark entered his appearance with the Supreme Court in two different Writs of i\/iandamus and
Prohibition that David Andrew Christenson filed. On|y one ofthe Writs had anything to do with BP. C|ark
was also the attorney of record for David Andrew Christenson's appeal ofthe absurdity of the BP

Sett|ement and the requirement that his financials be accrual based and not cash. See attachments

No. 16-6278 Title: in Re David Andrew Christenson, Petitioner

V.

Docketed: October 4, 2016

Linked with 16A896

Sep 7 2016 Petition for a writ of mandamus and/or prohibition and motion for leave to proceed in

forma pauperis filed. (Response due November 3, 2016)
https://www.supremecourt.gov/search.aspx?fiiename=/docketfiles/16-6278.htm

No. 16-5869 Title: David Andrew Christenson, Petitioner

V.

United States

Docketed: September 8, 2016 Lower Ct: United States Court of Appeals for the Fifth Circuit
Case Nos.: (16-30529) Decision Date: |Viay 17, 2016 Rehearing Denied: lune 28, 2016

Jul 7 2016 Petition for a writ of certiorari and motion for leave to proceed in forma pauperis filed.
(Response due October 11, 2016)
https://Www.supremecourt.gov/search.aspx?fiiename=/docketfiles/16-5869.htm

lVlElVlORANDUl\/l CONCERN|NG THE NON-RESPONDENT/DEFENDANT
BP EXPLORAT|ON & PRODUCT|ON |NCORPORATED,
BP AlVlER|CAN PRODUCT|ON COiVlPANY |NCORPORATED
AND BP P.L.C.
WA|VER FlLED |N WR|T OF CERT|ORAR| 16-5869
(WA|VER FlLED BYJEFFERY BOSSERT CLARK OF THE K|RKLAND & ELL|S LAW FlRlVl)
(ON WR|T OF CERT|ORAR| TO THE UN|TED STATES COURT OF APPEALS
FOR THE FlFTH C|RCUIT)

Case: 16-30918 Document: 00514622966 Page: 1 Date Filed: 08/30/2018
On August 30th, 2018 the 5th Circuit denied my Petition for Rehearing En Banc. The stated reason was a
lack ofjurisdiction. They said the Appeal was not timely filed. |Viy response is attached.

Errata Correction i\/iotion based on incorrect information in the Court's Order Dismissing this Appeal for
Lack of iurisdiction. - |Viotion for Reconsideration - |Viotion for Leave to file
5th Circuit Case: 16-30918 Document: 00514587429 Page: 1 Date Filed: 08/06/2018

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 7 of 51

Second Errata Correction iViotion based on incorrect information in the Court’s Order Dismissing this
Appeal for Lack ofJurisdiction. ~ |Viotion for Reconsideration - iviotion for Leave to file
5th Circuit Case: 16-30918 Document: 00514592096 Page: 1 Date Filed: 08/08/2018

 

Trump and the Executive Branch knew that the Supreme Court would not accept my Writ so they l
proceeded with the conformation.

The River of Death. via the Red Tide and Corexit from the BP Oil §pi_ll, has reached the Eastern
Seaboard. Google Red Tide in Florida. The Red Tide will make it to the North At|antic Fishing Grounds
very soon. Our government will tell you that the Red Tide/Algae Bloom is natural occurring but in fact it
is not in a moving body of water. Google dying reefs in the Gulf of i\/iexico and the dead zone in the Gulf
of iViexico. The United States is not only murdering its own people but Europe and the rest of the world
with The River of Death.

***You are denying climate change/climate warming by not allowing me a voice*** »

 

THlS lS ELECTlON TAMPER|NG lN lTS TRUEST FORM.

YOU HAVE lNTENTlONALLY EGREG|OUSLY AND MAL|C|OUSLY DEN|ED THE AMER|CAN PEOPLE

______|_____..______-___

KNOWLEDGE 50 THAT THEY CAN |VlAKE AN |NFORN|ED VOTE. i

lN ESSENCE YOU ARE THE JUDGES OF DEATH.

Sincerely,

David Andrew Christenson

Box 9063

lViiramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmaii.c@;
dchristenson€@hotmail.c@;

Godspeed.
|
|

CERT|F|CATE OF SERVlCE
i hereby certify that on October 22'“’, 2018 l filed the foregoing with the Clerk of Court and
served the pleading on all counsel of record by e~mail and first-class mail.

 

David Andrew Christenson

ease 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page a of 5-1-

UN\TED sTATEs DlsTRlcT count . . l ' l
THE oisTFucT oF coLuMBlA ` ' " , .\

 

i\fiovant David Andrew Christenson Civ. No. 1:18-cv-0266£i-RDi\/l - ' . _ v _ d “ ' ,;'U j,

Senator Richard Blumenthal, et al., Complaint for Declaratory and
Plaintlff injunction Re|ief

v. judge Randolph D. i\/loss

i\fiatthew Whitaker, et al.,
Defendants

Amicus

The irony is that this case is about The Affordable Care Act and severe election tampering via censorship.
Our government, social media and media report in a one-dimension Worid. We live in a multi-dimension
world that requires free speech if we are to survive. i admit that there is no way to report this
information in a coherent manner. Review the letter and four-page docketed pleading to Judge John G.
Koe|tl US District Court SD New York 500 Pearl Street New York, NY 10007-1312 Attachment 1

A Christmos Coroi in Prose,' Being o Ghost$tory of Christmos by Chories Dickens
Jocob Mo'riey "ii/ionkind was my business The common Weifare was my business; chority, mercy,
forbearance, ond benevolence, were, oli, my business The dealings of my trade were but a drop of water
in the comprehensive ocean of my businessi”

lS NlANKlND ‘(OUR BUS|NESS OR NOT?

Similar Questions of the Rule of Law - Reference:

in re: Gra nd jury investigation (18-3052) Court of Appeais for the D.C. Circuit

Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D. New York
Christenson v. Democratic National Committee (1:18-cv-05769) District Court, S.D. New York
Christenson v. Democratic National Committee (18-21¢15) Court of Appeals for the Second Circuit

State of i\/iaryland v. United States of America (1:18-cv-02849) District Court, D. l\/iary|and

Supreme Court Writ No.18-496 Barry iViichael v. Jefferson B. Sessions iii Attorney General of the United

States - i\/iotion to Substitute

Attachment 2: Writ/Amicus Brief (in the most simplistic terms) in re: Grand Jury investigation (18-3052}

Court of Appeals for the D.C. Circuit

Attachment 3: i\/iotion for Leave to File One Time informative Pleading (Please file as Amicus Brief if
needed) in re: Grand .iury investigation {18-3052) Court of Appeals for the D.C. Circuit

Attachment 4: Supplemental i\/lotion for Leave to File One Time informative Pleading (Please file as
Amicus i?»rieic if needed) in re: Grand Jury investigation (18-3052) Court of Appeais for the D.C. Circuit

Attach ment 51 Errata to Complete the Record - File as Amicus Brief in re: Grand Jury investigation

(18-3052) Court of Appeals for the D.C. Circuit

 

 

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ease 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 9 of 51 7 ll

Attachment 6: The United States Supreme Court and The Katrina Virus by David Andrew Christenson
”ii/iy books have been removed/censored/sanitized from the Library of Cangress. Ail references ta me and
my books have been removed/censored/sanitized from the Library of Congress. ii/iy books have Library of
Congress Controi Numbers (LCCN). This book was placed into the tibrary of Congress in 2012."

Attachment?: Amicus - State of iViaryiand v. United States of America [1:18-cv-02849) District Court, D.
i\/iaryland

Godspeed
Sincerely,

David Andrew Christenson

Box 9063

lViiramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@gmaii.corm
dchristensont$@hotmail.c@;

CERT|FlCATE OF SERV|CE
l hereby certify that on December 2“°‘, 2018 l filed the foregoing with the Clerk of Court and
served the pleading on all counsel of record by e-rnai| and first-class mail.

 

David Andrew Christenson

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 10 of 51

uNlTED sTATEs oisTRicT couRT _
roe THE DisrR\cT or MARYLAND ` `__

|Vlovant David Andrew Christenson Civ. No. 1:13-CV-02849-ELH `
State of l\liaryland Comp|aint for Declaratory and " U
Plaintiff injunction Relief

v. ludge Ellen Lipton Hollander

United States of Americar et al.,
Defendants

Amicus

The irony is that this case is about The Affordable Care Act and severe election tampering via censorship.
Our government, social media and media report in a one-dimension wor|d. We live in a multi-dimension
world that requires free speech if we are to survive. i admit that there is no way to report this
information In a coherent manner. Review the letter and four-page docketed pleading to .iudge John G.
Koe|tl US District Court SD New York 500 Pearl Street New York, NY 10007-1312 Attachment 1

A Christmas Caroi in Prase; Being a Ghost Story of Christmas by Charles Dicl<ens
Jacob Marley ”Manl<ind was my business The common welfare was my business,' chority, mercy,
forbearance, and benevolence, were, ail, my businessl The dealings of my trade were but a drop of water
in the comprehensive ocean of my businessl"

lS lVlANK|ND YOUR BUSINESS OR NOT?

Simi|ar Questio ns of the Ruie of Law - Reference:

in re: Grand Jury investigation (18-3052) Court of Appeals for the D‘C. Circuit

Democratic National Committee v. The Russian Federation (1:18-cv-03501) District Court, S.D. New York
Christenson v. Democratic National Committee (1:1S-cv-05769) District Court, S.D. New York
Christenson v. Democratic National Committee (18-2145) Court of Appeals for the Second Circuit

State of i\/laryland v. United States of America (1:18-cv-02849) District Court, D. iViaryland

Supreme Court Writ No. 18-496 Barry i\llichael v. lefferson B. Sessions ill Attorney General of the United
States - i\/iotion to Substitute

Attachment 2: Writ/Amicus Brief {|n the most simplistic terms) in re: Grand Jury investigation (18-3052)
Court of Appeals for the D.C. Circuit

Attachment 3: iViotion for Leave to File One Time informative P|eading (Please file as Amicus Brief if
needed) in re: Grand Jury investigation (18-3052) Court of Appeals for the D.C. Circuit

Attachment 41 Suppiementai |Viotion for Leave to File One Time informative Pieac|ing (P|ease file as
Amicus Brief if needed) in re'. Grand Jury investigation (18-3052) Court of Appeals for the D.C. Circuit

Attachment 5: Errata to Complete the Record - File as Amicus Brief in re: Grand Jury investigation

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/16 Page 11 of 51 - n

(18-3052) Court of Appeals for the D.C. Circuit

ll‘ittachment 6: The United States Supreme Court and The Katrina Virus by David Andrew Christenson
"ii/iy books have been removed/cansored/sanitlzed from the Library of Congress. All references to me and
my books have been remaved/censored/sanltized from the Library of Congress. ii/ly books have Library of
Congress Controi Nambers (i.CCN). This book was placed into the Library of Congress in 2012.”

Attachment7: litmicus - BLUMENTHAL v. WH|TA|<ER (1:18-cv-02664) District Court, District of Columbia

Godspeed

Sincerely, »

David A(l;d\re Christ

Box9063

lViiramar Beach, Florida 32550
504-715-3036
davidandrewchristenson@gmaii.com;
dchristenson€@hotmail.corr_\;

 
 
  

i hereby certify that on Decemb

served the plead`ng o l
/
y \BavTB/Andrew Christenson

 
 
 
 

 

 

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 12 of 51

Attachment 1

 

 

*
Case1:18-cv-09433-LGS Document 22 Filed12/12/13 page 13 Of51` -- . l ,

iudge John G. l<oeltl

US District Court SD New \iorl<
500 Pearl Street

New Yorl<, |\JY 10007-1312

You murdered - Vice Admirai 5cott Stearney commander of U.S. Navai Forces Central Command and the

U.S. Fifth Fleet and i\iiajor General John Rossi commander of Army Space and i\/llssile Defense Command

as well as other Flag Officers, active and retired. You have murdered i\/ian|<ind. Five million combat

veterans will be coming for you and your family and i will not protect you. Time and math will ensure

that the truth comes out. Trump, the Democratic i-iouse, the epidemic abundance of suna rcissists

lsuicide before honor) that occupy leadership positions etc. will also ensure that the truth comes out.

Evi| destroys Evil while destroying i\ilanl<ind. You have betrayed your God, Country, Fami|y and Friends.

The Preambie of the Constitution has the word “Posterity" in it. That means you betrayed your children, l

grandchildren and Niankind. it will be written that i\iianl<ind voluntarily committed suicide. i\liedicine and ': `
` l

l

 

therapy do not work. 900 U.S, Army anti-suicide programs is proof ofthat. Suicide is now a life choice.

if the narrative is not changed, |Viankind will cease to exist by October 12th, 2050. This is not a prediction
or prophecy but a mathematically certainty. Suicides will outnumber births in the next few yearsl Life
expectancies are decreasing and birth rates are negative. The CDC published three bombsheii reports on
November 28“‘, 2018 and no one noticed. THE CONCLUS|ONS AS TO THE ”WHY” ARE WRONG. ]'LF: l
NARRATIVE HAS TO CHANGE lF WE ARE TO SURV|VE. n l
h_t_tps:f[www.cdc.gov[nchs{

Suicide l\/iortality in the United States,1999~2017 - Data Brief No. 330 (11/28/2018)
i~.ttps://www.cdc.go_\.'/nchs/products/databriefs/db330.htm
https‘.//w\.vw.cdc.eoanhs/data/databriefs/dbE‘»E»O-hgcyl_ic

Drug Overdose Deaths in the United States, 1999-2017 - Data Brief No. 329 (11/28/2018}
littbs.'//vaw.cdc.gov/nchs/products[databriefs/db329.htrn
l_ittps;/!www.cdc.govlnchs/data/databriefs/db329-hidj

N`iortaiity in the United States, 2017 - Data Brief No. 326 (11/28/2018}
https;/'r’wvvw.cdc.gov/nchs/products databriefs dbSZS.htm
ijttps://www.cdc.gov/nchs/data/databriefs/deZB-h.Ldf

\l\le are 20 Trillion Dollars in debt and increasing that debt every year by 1 Tril|ion Dollars. in the next
few years the interest expense will exceed what we spend on National Defense. l~iow do we pay for our
medical care? We are at epidemic rates/levels for Aizheimer's, Parkinson's, i\/lultiple Scierosis, Autisrn,
Allergies, Asthma, Suicide(s}, i\/iurderis)-Suicidels), Diabetes, i\/iuscuiar Dystrophy, Fibromyaigia,
infiuenza and Pneumonia deaths etc. Ail are connected to a degraded immune System(s).

Godspeed

Sincerely,

David Andrew Christenson

Box 9063 lViiramar Beach, rFlorida 32550

504-715-3086, davidandrevvchristenson@grnail.com; Mrigli;en__=,oMrEil-£>Q;

 

 

 

Case1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page14rof51

ease 13-2145, Document 2a assistants 2363991, eagel or s

 

 

UNlTED STATES COURT OF APPEALS
FDR THE SECOND ClRCUlT

David Andrew Christenson, Case: 18-2145

All Americans

Civil Action No. 1:1B-cv-05769
Plaintiff,
Racketeer influenced and

-v. Corrupt Drganization Act (RiCO]
Democratic National Committee, Ciass Action Complaint
Republican National Committee
Donaid i. Trump for President lnc.
Democratic Party

Republican Party

President Donaid Trump
President Barack Obama

john Does 1-999

lodge Colieen Nlci\fiah'i_)n

lury Demand

 

|Vlemorandum - A microcosm of genocide in our own country by the Admirals and Gen
"DDN'T" lead our troops and thus don't lead our country.

These Adrnira|s and Generais have done more harm to this country than Putin and ali the other Despots
in the world. They are in fact traitors.

As you know i believe the greatest "Ruie of Law” and "Constitutionai” transgression in my lifetime was
when President Ford pardoned Nixon. What a mistake You are witnessing the ramifications of that
mistake.

Will President Pence pardon Trurnp? This is a very legitimate question.

rs will commit suicide to day. 80% of the veterans that

commit suicide were never in combat and 50% were never in theater. The Arrny has 900 plus suicide
programs and even an anti-suicide nasai spray. This microcosm is a precursor to what is going to happen
to the rest of America. The military leadership has failed. This same military leadership has failed to

protect us from what is taking place. The enemy is us.

22 Veterans and 75 plus military family membe

When President George W. Bush took us into iraq he committed two frauds against the America People.
i-ie lied about Al Ciaeda being in iraq and he lied about there being Weapons of iviass Destruction. Ai
Qaeda was not in iraq and there were no Weapons of Niass Destruction. NOT ONE ADi\iiiRALC|R 5
GENERAL STDOD UP TO BUSH. THEY ALL KNEW HE WAS COMMlTTlNG FRAUD AND THEY KNEW THE l
RANllFlCATlONS, BUT NOT ONE ADMlRAL OR GENERAL RESlGNED. THE ADMlRALS AND GENERALS KNEW
THE COST lN DOLLARS AND LlVES. THEY TOOK AN OATH TO PROTECT THE CONST|TUTlOl\l AND THEY

\l'Ol.UNTARlLY ABROGATED TH ElR OATH/RESPONSlBlLlTlES.

s the Chief of Navai Dperations when he committed suicide. in my

Admiral lererny Niichaei Boorda wa
nd our society. Suicide had its birth as a life

opinion this was the beginning of the fall of our military a

 

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/1-8- - Page 15 of 51

 

 

 

` Case 13~2145, Document 26, 08i06l2013, 2363991., PageZ of 5

choicel Boorda made it mainstream His suicide was a wakeup call and the military did nothing. We did
nothing

tviajor General lLieutenant General seiect] john Rossi committed suicide july 31“, 2016 at Redstone
Arsenai, two days before he was to assume command of Army Space and Nlissiie Defense Command. i
share this suicide story with you because there was no warning, it was spontaneous i'v‘iany suicides and
murder(s) - suicide(s] are spontaneous The Army fought to keep this secret. The family forced the Anny
to tell the truth. They did this because they thought it might help to save others it did not. The 05
iv‘lilitary misclassifles suicides all the time. A friend of mine lLeonard Hayes from the Air Force Acaclemy]
was a suicide by vehicle They said he died in a car accident and that was the way it was classified He
was driving ata very high rate of speed and cross the median. in suicide type situations we are now y
doing brain autopsies in addition to the normal autopsies. He had been fighting mental illness for years _ l

but...

   

Nledications and therap will not solve our suicide and murder s -suicide s e idemic. We can't a l

the same fixes to an epidemic that has increased every year for the last thirty years

 

The root of the problem starts with the military academies The military promotional system is corrupt
and promotes defective human beings with no leadership qualities or abilities You can't argue with this

because you are witnessing the results

60 of the 210 ad'mirais in the United States Navy were under investigation in the "Fat Leonard" probe.

Navai Acaderny drug ring underinvestigation: LSD, cocaine allegedly bought on dark web
By Lucas`i'omiinson, jennifer Grlflin Fox News

nhpa r`.l"‘a"~ars.r.t`oxnews.-;o rnlpoiiticszOlSlUZ.-’E 3/naval-academv-drus;-r‘zng-under-invesiiga tion-!sd-

cocaine-allegedly-bo ueht-on-dark-web.htmi
l am going to highlight portions of the following article that i feel are pertinent

Senior military officials sanctioned for more than 500 cases of serious misconduct
Tom Vanclen Broc)l<l LlSA TC|DAY Publlslied 4214 p.i`i'i. ET OCT. 24, 2017

ha ’ =`v.rw'.»t=.usatoday.com,-"stor»n'ine\.vs.»"r:iolitics,g'}!O‘j.'l,11 101‘24:’ generals-sex
sanctions-§ragel-giiiibrandl794770001£

ors have documented at least 500 cases of serious misconduct
nd senior civilians almost half of those instances involving
A TODMl investigation has found.

;.'niscond uct-perrtago n-ari-ny-

 

> Since 2013, military investigat
among its generais, admira|s a
personal or ethical lapses a US

 

ted an office to investigate ethical problems

in 2014, then-Defense secretary Chuck i~lagel crea
later without determining the depth of the l

among senior leaders it was shattered two years
problem, a task Hagel gave it when he opened the office.

‘t/'"

`P "This is another example of top [Pentagon) officials refusing to demand accountability and
orn oommanders under the rug to the detriment of the men

sweeping major ethical problems fr
and women who serve admirably under them,” Sen. i<irsten Giiiibrand, a New York Democrat

and member of the Armed Services Committee, told USA TODAV.

 

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 16 of 51

 

 

Case 18-2145\ Document 26, 03l06l2019, 2363991, PageS of 5

 

> What prompts these men at the pinnacle of their profession to take reckless risks with their
families careers and reputations? Several factors play a role, according to members of
Congress, former top officials and officers There is often a sense of entitlement that can stern
from bosses with eager-to-please staffs and some military leaders who view themselves as

royalty, according to a former top military prosecutor.

 

i> Don Ch ristensen ina reiation}, former top prosecutor for the Air Force and president of the
advocacy group Protect Our Defenders, believes that the senior officer class has become a class
apart with its own rules and little accountability ”They' re more nobility than they are just
average American citizens,” said Christensen, who retired as a colonel. "They start to feel above

the law. They feel like royalty vs an officer dedicated to the country."

9 "The everyday troop is court-martiaied for what a general oflicer is given a slap on the hand

for,” Christensen said.

My commen ts.'

Wesr Point graduate General David Petroeus criminally violated the Constitution, Federal tow and the
Uniforrn Code of lviilitoryJustice iUCM.l,l and yet he did not go to jail. What is most amazing is that this
defective human being still has his security clearance

Petraeus epitomizes defective military leadership We are a notion with a Constitution and laws that l l
Afghanistan having sex with a fellow West Point . '

were drafted by Christians and .iews. Petrae us was in
grad. Both were well versed in the UCMJ and the rules governing security clearances This training l j
started day one at West Poinr. Petraeus was giving his mistress itieutenanr Coionel Select) highly 1
classified information that she lillegoliy) publicly disclosed

direction that it is taking comes down to one Petraeus military

order. American Heroes, Army Fiangers were ordered lthrea'tened} not to interfere when they witnessed
on Afghcrn man raping an Afghan boy. if our Americans Heroes intervened they would be Court l
Martialed and given a dishonorable discharge This order was given while Petraeus was violating the l
UCMJ by having sex with o married woman in his office in Afghanistan and disclosing classified
intelligence Petraeus’s reward was to become ClA Director where he continued to have sex with his l
married mistress and disclose highly classified intelligencel

Evervthing about my country and the

nel Oliver North who is now in charge ofthe

The United States Navai Academy produced lieutenant Colo
have gone to

National Rifie Associatlon (NFiAl. North is a truly defective human belng. The man should
iail. l can say this because l was connected with him and what he was doing

The Cathoiic Church

here on earth. Theirjob is to get the

il's emissaries
date of

The Pope, Cardinals, Bishops and Priests are the dev
doing a fantastic job with a completion

human race to voluntarily commit suicide. They are
Cictober 121“, 2050.

The Catholic Church's pedophile rapist's environment continues as is evident by Cardinal Theodore E.
ressions took

lVicCarrlck resignation. l-le was allowed to resign instead of being fired. His criminal transg
place over decades i-ie was granted the "Privileges of Power" by the Pope.

 

 

 

ease 1:18-cv-09433-LGS Document 22 Filed 12/12/18 eagle 17 or 51

 

 

018, 2363991., Page£i of 5

Case 18-2145, Document 26y UBlOF;"»lZ

Condunon

|
Everyone believes that someone else is taking care of the problem. The fact of the matter is no one is i
taking care of the problem. We are allowing extremists, money, power, religion, apathyr outdated social
norms, etc. to dictate the course of human history. We need to do what is best for l'v'lankind.

l want to scare the hell out of you but l don’t know how. Weapons of l\l'lass destruction can destroy the

world and mankind with it. They may not seem like it but we have four Weapons of Niass Destruction
that are to become realities. Fusion, A'rtificlal intelligence, Brain Nionitoring and the Ctuantum

Com puter.
l\)‘ly last two questions
Who should be in charge of the Weapons of Mass Destruction?

Who should have oversight of those that are in charge of the Weapons of Mass Destruction?

Godspeed.

   

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dchristensonB{_whotmail.com;

   
 
   

' i foregoing with the Clerk of Court and
- - .' . - o irst~class mail.

l avid Andrew Christenson

 

 

 

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 18 of 51

Attachment 2

 

 

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CaSe1:18-cv-09433-LGS Document 22 Filed12/12/18 i’age 19 of51 l l

UN|TED STATES COURT OF APPEALS
FOR THE DlSTRlCT OF COLUl\llBlA ClRCUlT

David Andrevv Christenson, i\/iovant (Amicus Curiae)
in Re: Grand iury investigation Case 18-3052

Andrew i\/iiiier - Appeliant iustice Judith W. Rogers
iustice Karen L. Henderson
v. Justice Sri Srinivasan

United States of America - Appellee

Writ/Amicus Brief
(ln the most simplistic terms)

The court has inadvertently opened Pandora’s Bo)c via their own Order dated November 9“‘, 2018. in
simplistic terms they are asking for answers to a Constitutionai Question(s). is the Whitaker
appointment Constitutionai? lSecond Question)

The first question deals with the Specia| Prosecutor. |s the Specia| Prosecutor's appointment
Constitutionai? (As l said, very simplistic terms.)

This court needs to consolidate (some are listed after the signature} ali of the cases that are currently at
issue within the Federal Judiciary that are dealing with one of both of these questions The Supreme
Court has received a i\llotion to Substitute - \l\lrit 13 - 496 that is asking about the Constitutiona|ity of
the Whitaker appointment The lViotion was political motivated and, in my opinion, inappropriate
lGross|y inappropriate The |Vlotion is very disrespectfui. The attorney that filed the i\liotion is trying to
force the Supreme Court into the political arena with a cheap parlor trick. Shame on him. This kind of
sensationalism by a veteran Supreme Court litigator is heinous.)

GODSPEED.

Sincerely filed, in Proper Person,

David Andrew Christenson

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dchristensonB@hotmail.com

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 20 of`51

CERTiFlCATE OF SERV|CE
l hereby certify that on November 30th, 2018 i filed the foregoing with the Cierk of Court and
served the pleading on all counsel of record by e-maii.

 

David Andrew Christenson

Supreme Court Writ No.18-496 Barry i\liichael v. Jefferson B. Sessions iii Attorney General of the United

States - iVlotion to Substitute

 

iviaryiand v. U.S, (U.S. District Court for the District of i\/iaryland) - Niotion for Preliminary injunction and

to Substitute Defendant by State of l\/iaryiand (11/13/2018)

B|umenthal v. Whitaker (U.S. District Court for the District of Co|umbia) - Complaint against Ail
Defendants (11/19/2018)

O.A. v. Trump (U.S. District Court for the District of Coiumbia)
Relief (11/20/2018)

Alsomairi v. Dawson (U.S. Court of Appeals for the an Circuit) - Petitioner-Appeilant‘s l\liotion for
Preliminary |njunction, and to Substitute Appe|lee (11/14/2018)

U.S. v. \laiencia (U.S. District Court for the Western District of Texasl - i\/iotion to Disrniss for Lack of

!

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|

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- Complaint for Deciaratory and injunctive j

Authority to Prosecute (11/12/2013) l
|

|

U.S. v. l-|anig (U.S. District Court for the Eastern District of l\liissouri) - l\llotion to Dismiss indictment, or in

the Alternative to Disqualify Prosecution Team (11/13/2013)

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 21 of 51

Attachment 3

 

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 22 of 51 `

USCA Case #18-3052 Document #1760340 Filed: 11l14l2018 Page 1 oi 11
l warren srArEs counr or APPEALS
F{i=- F’ ir"'-. i c‘lT "-"' rlMp]A C|HCLMN\"ED STATES COURT OF APPEALS

'--_----_-- ~ ~-F@R Tt g mger or coLuMBlA ClRCU'T

l sav t ;;ais
Da+id A drew Christenson, iViov nt (Amicus Curiae)
h -- .
in ' R ige|sv iDl Case 18~3052

Andrew Nlilier - Appeliant iustice .iudith W. Rogers
Justice Karen L. Henderson

Justice Sri Srinivasan

 

 

 

United States of America - Appeiiee

Nlotion for Leave to File One Time informative Pieading
(Please tile as Amicus Brief is needed)

'This pleading provides important information about the credibility of the Department ofiustlce and the
Special Counsei. it is imperative for the iustices to have this information ifthey are to protect the

American People and the Constitution.

l am directly and personally connected to Attorney General i\liatthew Whitaker. Assistant Attorney
General for the Environment and Naturai Resources Divlsion Jeffery Bossert C|ark and Special
Prosecutor/FB| Director Robert |Vluelier.

The framers of the Constitution had very strong convictions about personal rights. The Biil of Rights
lFirst Ten Amendments} was created to protect our personal liberties

h The last sentence ofthe First Amendment: and to petition the Government for a redress of
grievances i am petitioning this court for a “redress of grievances” and l am doing so on behalf

of ali Americans and you and your famiiy.

First Amendment:
Congress shall make no law respecting an establishment of reiigion, or prohibiting the free exercise

thereof; or abridging the freedom of speech, or of the press; or the right of the people peaceably to
assemble, and to petition the Government for a redress of grievances

Every morning you wake up to same unbelievable world that i wake up to. We must change the
narrative if Mankind is to survive. i hope the attachments motivate you to change the narrative.

Democratic National Committee v. The Russian Federation ll:lB-cv-OBSOI) District Court, S.D. New York

Attachments 1, 2 & 3:
One Hundred Seventeenth (117th) Emergency Nlotion for Reconsideration

 

 

Case1:18-cv-09433-LGS Document 22 Filed12/12/18 Page-23 of51

 

USCA Case #13-3052 Document #1760340 Filed: 11l14l2018 Page 2 of 11

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l
One Hundred Fifteenth (115th) Emergency Niotion for Reconsideration
One Hundred Eighteenth (118th} Emergency N|otion for Reconsideration

Attachment 4: The United States Supreme Court and The Katrina Virus

Attachrnent 5: The Reiuctant Patriot

GODSPEED.

 
  
 

Sincereiy filed, in Proper : -

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David Andrew Christenson

 

 

Att\é$é?\??iee#h&t?(fZ Document #1760340 Filed: 11/14/2018

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 l:>age 24 of 51

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UN|TED STATES DlSTRiCT COURT
SOUTHERN DlSTR|CT OF NEW YORK

Niovant David Andrew Christenson Civil Action No. 1:18-cv-03501

DEiViOCRATiC NATIONAL CONiiV|iTTEE, Racketeer influenced and
Corrupt Organization Act lRiCO)

Plaintiff,

v. ludge John G. Koe|tl

RUSS|AN FEDERAT|ON, et al;
Defendants

One Hundred Seventeenth (117th) Emergency N|otion for Reconsideration

Yesterday morning i walked away from r`rly quest to save Niankind. l quit. i told God i was through and
that if he wanted me to continue, he needed to give me a real sign. Guess what? God gave me a sign via

a baseball bat to the head.

Matthew Whitaker is the acting Attorney General

This factual story is unbelievable and there is no way to tell it in a coherent manner.

US Attorney Matthew Whitaker from iowa is my father’s attorney and the gerson that had US

Attorne Biii Gibbens re resent me in m arrest for ber staikin an FBi ent in New Orieans. lies

a US Attorney represented me and gave away ali of my rights.

l arn directly connected to Attorney General Matthew Whitaker, Assistant Attorney General for the
Environment and Naturai Resources Division ieffery Bossert C|ark and Speciai Prosecutor Robert
Niue||ert Each of these individuals irreparable harmed me and thus irreparable harmed ali Americans.
They are responsible for the Genocide of Niankind. lCiark represented BP Oil in my appeal with the 5th
Circuit. ¥ou must review the extensive docket. 5th Circuit Case: 16-30918 iN RE: DEEPWATER HOR|ZON
LAKE EUGEN|E Ll-\ND & DEVELOPMENT, |NCORPORATED; ETAi_, Plaintiffs v. BP EXPLORAT|ON &
PRODUCTlON, iNCOR-PORATED; BP Al\liERlCl-\ PRODUCT|ON CONiPANY; BP, P.L.C., Defendants »-

Appellees.)
Republican and he donates to the Republican Party.

blica'n. i\lly father retained him as an attorney and
r was the US Attorney for the Southern District of

l am from iowa. lViy father is from lowa, he is a
Matthew Whitaker is from iowa and he is a Repu
donated money to his campaign. |Viatthew Whitake
iowa.

l have been estranged from my father for most of my adult life but when i was falsely arrested on a
Louisiana Warrant (misdemeanor) for Cyber Stalking an FBi Agent my wife called him. l was never

charged with a crime. Niy father left New Orleans and left me in jail because of Matthew Whitaker. My

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/10 Page 25 of51

USC Case# -3 2 Document#1?60340 Filed111l14l2018 Pageéiol 11
Attacfimerft ?f’

father is a real sunarcissist. The DOJ put (my own father) me in isolation for 11 days and medicated me
against my wiii. They did the same thing to Coast Guard Commander Wiiiiam Goetzee four months later
and he died. The DOJ murdered him. When he was in Federal Court, they had him strapped to a
wheelchair and they would tase him when he tried to speak. Read the family's complaintl

Reference: Democratic National Committee v. The Russian Federation (1:1B-cv-03501) District Court,
S.D. New York John George Koe|tl

Christenson v. Democratic National Committee (1:18-cv-05769} District Court, S.D. New York Judge
Coiieen iVicNiahon

The information l am sharing with you has been filed in 30 plus cases in four Appeais Courts and three
District Courts. it also has been filed with the Supreme Court in the four Writs that i filed. Search Pacer
and the Supreme Court for: David Andrew Christenson.

Docket for 1:1B-cv-03501 SDNY 113 pages - Nlotion for Leave to File: iVlotion to intervene and N|otion to
ioin filed by David Andrew Christenson on Aprii 24“‘, 2018. Judge Koeiti docketed over fifty of my
pleadings

Docket 25

Pages 24 ~ 27 Non»Domestic Stay Away Order FBi Director Robert Niueller is on it. 74 people are listed
and i did not know 66 of them. A third of them are court cierks. Two US Senators, a Bishop and a
building. They even listed my friends and attorneys

Page 56 - A press release about my arrest that was a gross mistake on the part of the DOi.

Pages 57 & 58 - Bond Order and Conditions of Bail. They original asked for $500,000.00 bail for a
misdemeanor. Order 3 is no internet so i could not do research. Order 9 waives my rights for a year and
is not a requirement for bond. They put an electronic monitoring device on my ankle.

Page 59 |Vlemorandum about US Attorney Billy Gibbens representing main my arrest and waiving all of
my rights. Look at his bill. His job was to keep me injaii or confined to a psychiatric prison.

l was ordered to leave Louisiana and go to Florida to receive treatment for an unsgecified mental

illness. They wanted me out of New Oriearis while the Danziger Triai was taking giace.

During Hurricane Katrina the US Miiita[y murdered Americans and the Katrina Virus was released
because of negligence.

Read the 50 plus pleadings for the rest of the story.
Godspeed

Sincereiy,

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Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 f>aQe 26 of 51

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UN|TED STATES D|STR|CT COURT
SOUTHERN DlSTRlCT OF NEW VORK

iViovant David Andrew Christenson Civil Action No. 1:18-cv~03501

DEMOCRAT|C NATiONAL CONil\liii'|'EE, Racketeer influenced and
Corrupt Organization Act (R|CO)

Plaintiffr

v. ludge John G. Koelti

RUSS|AN FEDERAT|DN, et al;
Defendants

One Hundred Fil"teenth (115“‘) Emergency Motion for Reconsideration
”Democracy has been described as three wolves and a sheep voting on what is for iunch."

The United States of America is a Republic. The Constitution created three branches Those three
branches were to provide checks and balances so that we would not end up were we are. it was so
important to the framers that when the Constitution was ratified only the House of Representatives was
elected by popular vote and Senators were elected by the states The framers of the Constitution gave
life time appointments to judges to prevent exactly What is happening today. The Federal .iudiciary was
the last line of defense. The last line ofdefense, Federal iudiciary, has failed.

To me, life is simpie: follow the Constitution. in many cases such as this one, Judges rule on the
practicality of the ”ruie of iaw" which may do good in the short run but causes irreparable long-term
damage. Upholding the Constitution is a bitch. if our Republic is to survive the Federal Judiciary must
uphold the Constitution in ali matters

Did you know the word "Democrac\f' never appears in the Constitution or the Deciaration of
independence?

ls the following true today? Are we doing this? Posterity is an important word - ”aii future generations”.

U.S. Constitution - Preamble - We the People of the United States, in Order to form a more perfect
Union, establish iustice, insure domestic Tranquility, provide for the common defence, promote the
general Welfare, and secure the Blessings of Liberty to ourselves and our Posterig, do ordain and
establish this Constitution for the United States of America.

The Biii of Rights - Federalists argued that the Constitution did not need a bill of rights, because the
people and the states kept any powers not given to the federal government Anti-Federalists held that a
bill of rights was necessary to safeguard individual iiberty.

Laws are just pieces of paper. We are a nation of ”sunarcissists”. Suicide over honor.

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/172/18 Page 27of51

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Questions

Can the Federal Judiciary rule, sue sponte, that the debt and deficit spending is unconstitutional because
it violates the Preamble of the Constitution?

Can the Federal iudiciary order, sue sponte, that vaccinations are unconstitutional and then stay that
order for two years and allow the parties to present evidence to the Supreme Court. This country needs

a dialogue

Did the framers of the Constitution expect the Federal .Iudiciary to be a reactive branch only or did they
expect them to be proactive when the Constitution and the country were in such danger?

The system is broken not the Constitution. How do we fix it?
How does the Federal Judiciary justify the 50 trillion~dol|ar debt that we will have in 50 years?
Where does the Federal .iudiciary get is news?

There is no forum left for free speech,

Godspeed

Sincerely,

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UNlTED STATES DiSTR|CT COURT
SOUTHERN D|STRICT OF NEW YORl(
Niovant David lilndrew Christenson Civil Action No. 1:18-cv-03501
DEMOCRAT\C NATiONAL COlV|NllTl'EE, Racketeer influenced and
Corrupt Organization Act (R|CO)
P|aintiffr
v. Judge John G. Koe|tl

RUSSlAN FEDERAT|ON, et al;
Defendantsl

One Hundred Eighteenth (118“‘) Emergency Nlotion for Reconsideration

Vou wouldn’t listen you arrogant bastards or should l say gutiess bastards
Change the narrative

Niarbury v. Madison showed the Supreme Court to be gut|ess and established a precedent that exists
today. Presidents have "Signing Statement” which completely undermine iudiciai Review. The Supreme
Court has abrogated its responsibility as defined by the Constitution and it was done voluntarily.

The Federal ludiciary will be blamed and held accountabie. Trump and Executive Branch Law
Enforcement will not protect you nor should they. US Niarshal will not protect you. Trump will use his
resources to put the spotlight on every judge and their families. There will be nowhere to hide.

”Acting Attorney General Matthew G. Whitaker Once Criticized Supreme Court’s Pawer”

By Chariie Savage Nov. 8, 2018 https:/[www.nytimes.com/2018/11/08/us/ooiitics/matthew-whitaker-
co urts-inferior.htm|?n|=too-stories&nlid=65460936ries&ref=cta

WASH|NGTON - The acting attorney generai, Nlatthew G. Whitaker, once espoused the view that the
courts “are suggosed to be the inferior branch" and criticized the Supreme Court's power to review
legislative and executive acts and declare them unconstitutiona|, the lifeblood of its existence as a

coequal branch of government

Godspeed

Sincerely, .

David Andrew Christenson

Box 9063

lViiramar Beach, Florida 32550
504-715-3086
davidandrewchristenson@grnai|.corg;

dchristensoni:`\@hotmail.com'l

 

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 20 of51

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lilly books have been remaved/censored/sanitized from the Library of Congress. Ali references to me and
my books have been remaved/censored/sanitizedfrom the library of Congress. My books have Library of
Congress Controi Nurnbers (i_CCN). This book was placed into the Library of Congress in 2012.

The United States Supreme Court and The Katrina Virus
A Preiude/Reference Book/Appendix - Book 7
By David Andrew Christenson
lSBN 978-0-9346893-8-5 Hardback SCKV
lSBN 978-0-9846893-9-2 EBook SCKV
LCCN 2012933074
Copyright 1-724163643
Persimmon Pub|ishing
Box 9063
lViiramar Beach, Florida 32550

An Epic Constitutionai Crisis. l am talking about the political destruction of all three branches (Executive,
Judicial and Legisiative) ofour Federal Government. One hundred and fifty five million Americans and
Canadians may be infected with The Katrina Virus. Did the United States Supreme Court participate in
the criminal cover-up? Misprision is a crime/felony. in simple terms it means that you had knowledge of
a crime and did nothing. Did the Supreme Court have knowiedge? YESl l gave them the knowledge The
real question is: what did the Supreme Court do with the knowledge of The Katrina Virus and the cover-

up?

There was no simple way to present this story. l fully acknowledge that the material is presented in an
incoherent manner. What you are reading is a compilation of my communications with the Supreme
Court since my arrest for cyberstaiking FBi Special Agent Steven Rayes on iViarch 15th, 2011. it must be
emphasized that l was arrested on a Louisiana Warrant (not a Federal Warrant as one would expect.)
and | have never been charged with a crime. A Louisiana Search and Selzure Warrant was used by the
FB| to steal my evidence, documentation, etc. of what happened in New Orleans after Hurricane Katrina.
in simplistic terms chemical warfare contaminates were released from DOD and ClA classified facilities
The United States iViiiitary conducted operational missions in violation of Federal Law and killed
Americans. 1500 Americans are still missing. Were the contaminated bodies recovered, analyzed and
burned in Federal Government incinerators? Are some of the bodies being kept alive in vegetative states
so that the Federal Government can study the long term effects of the Katrina Virus? lRemernber the
Syphi|is Studies in Aiabama and Guatemaia.)

This is a Prelude/Reference Book/Appendix. The end of the story has not been written. judgment must
not be passed upon the Supreme Court at this time. The Supreme Court may have actually protected
me. Thini< about it. Who could the Supreme Court have turned to? Congress and the Executive Branch
are responsible for the murder, genocide, treason and crimes against humanity. The only option for the
Supreme Court may have been to provide me with the protection needed, to not only uncover the truth
about the Katrina Virus, but to bring it to the attention of American and Canadian people.

 

 

Atté%:h FW§WA\E\:S§2 Document #1760340 Fi|@d; 11;14/2013

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Page 9 of 11

My books have been removed/censared/sanitized from the l.ibrary of Congress. All references to me and

my books have been remaved/censored/sanitized from the Library of Congress. lilly books have Library of
Congress Control Numbers (LCCN}. This book was placed into the Library of Congress in 2012.

Updated 10/31/2011 DAC 05:32
An Unedited Synopsis.
Piease Google ali names.

THE RELUCTANT PATR|OT
By Captain David Andrew Christenson
iBoolr Nine in a nine part series.)
Library of Congress LCCN 2011940256
lSBN 978-0-9845893-0-9 Hardback
iSBN 978-0-9846893-1-5 EBook

Factuai, documented and verifiable account of what happened to (The Author) Captain David Andrew

Christenson, United States Air Force, on Niarch 15‘h, 2011.

5“‘, 2011 the FBi brought a 30 man SWAT team, with shoot to kill orders, to

On the morning of Niarch 1
arrest Captain David Andrew Christenson for a non-violent, non~domestic, non-drug misdemeanor
gent Steven Rayes. This was done under the

charge (Equivaient of a Di.ii or DWi.l of cyber sta|king FBi A
authority of FBi Director Robert iViueiier. Niisinformation was provided to the press. Six months earlier

on October 14“‘, 2010 (This is a very important date, see beiow) lFBi Agent Steven Rayes contacted
Captain David Andrew Christenson. Why did Agent Rayes contact Captain Christenson? Agent Rayes was
a member of the uniformed Violent Crimes Tasi< Force and he was not a true investigative type FBi
Agent. Captain Christenson had been communicating with FBi Director Robert Niueiier, Agents David
Welker, Dewayne Horner, ioseph Downing, Keiiy Bryson and Pau|a iVicCants. Agent Rayes Was selected
by Director Niueiier to be the enforcer. Agent Rayes was an ex-enlisted Marine and street cap with no

id blindly follow orders understanding the illegal mission. Agent
out his orders. Agent Rayes ordered Captain Christenson to
Agent Rayes commenced to harass, staik, threaten,

0'““, 2010 Agent Rayes assaulted Captain
DVD of the assauit. The FBi used a Louisiana

conscious and was someone who wou
Rayes was zealous and sadistic in carrying
emaii him at his official FBi email addresses.
intimidate and assault Captain Christenson. On November 1

Christenson at the Hiiton Hotei in New Orieans. There was a
State arrest warrant and a Louisiana State search and seizure warrant. The FBi did not use Federal

Warrants. This needs to be said a ain. The FBi did not use Federal warrants. Ca tain David Andrew
Christenson has never been charged with a crime. The FBi claimed that two out of more than 500
emaiis sent to at least 10 different FB| Agents, including FBi Director Robert Niueiler, by Captain
Christenson were threateningl The emaiis were not threating and were consistent with previous

informative and political emaiis. Captain Christenson never received an arraignment, a show cause
d by iaw. Orieans Parish District Attorney Leon

h Criminai Court gave Captain Christenson a

   

hearing or a preliminary examination as is require
Cannizzaro asked for a $500,000.00 bond. The Orieans Paris

 

 

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record bond of $300,000.00. Captain Christenson should have been released on his own recognizance or
a $10,000.00 bond. lAn armed carjacker received a 575,000.00 bond.) Captain Christenson was held for
11 days in the Orieans Parish Prison without being charged with a crime. After day three Captain
Christenson was placed in isolation on the psychiatric floor of the house of detention lHOD) where he
was medicated without his knowledge or consent. Attorney General Eric Hoider directed Assistant US
Attorney Billy Gibbens to represent Captain Christenson. which he did` Criminai defendants are not
represented by US Attorneys. Billy Gibben’s mission was to discredit Captain Christenson and to keep
him in prison. The court record confirms this. Captain Christenson was to be permanently detained in a
psychiatric hospitalr medicated and discredited. The Louisiana State search and seizure warrant was
used to steal evidence, legal files, the DVD of FBi Agent Rayes assaulting Captain Christenson, the DVD of
the Danziger Bridge murders, etc. from Captain Christenson. United States Supreme Court files and
communications and evidence of "The Katrina Virus” and pending Genocide were stolen as weii.

The Degartrnent of .iustice classified Cagtain David Andrew Christenson as a
terrOrlSt. This was done to bypass Federal Law and the Federal Judiciary. lt was relayed to Captain
Christenson that if he did not stop his research and quest forjustice that he would be assassinated as a

 

terra rist.

The FBi attempted to murder/assassinate Captain David Andrew Christenson while he was being held in
isolation in the Orieans Parish Prison. Coast Guard Commander Wiiiiam Wesiey Goetzee was not so
lucky. He was murdered in the Orieans Parish Prison on August 7"‘, 2011. The FBi failed with Captain
Christenson but succeeded with Commander Goetzee.

What was so important that the United States Government had to classify Captain David Andrew
Christenson as a terrorist and then attempt to murder/assassinate him?

Chemicai warfare ingredients, "THE KATR|NA ViRUS”, were released during Hurricane Katrina. The end
result will be GENOC|DE for the residents of New Orieans. (“The Katrina Virus” represents all of the

contaminants that were released from government research/|aboratory, manufacturing and storage
d indirectly by the Department of Defense and the

facilities These facilities were controlled directly an
h as local hospitals and medical schools.

Central intelligence Agency and included public institutions suc
The Harvard University |Vledical School has been tasked with studying and tracking the long term

health/ medical issues and ”The Katrina Virus”.

The United States |Vlilitarv killed, executed and murdered Americans during Hurricane Katrina and after.
A side note. Secretary of Defense Donaid Rumsfeid had a very public disagreement with President
George Bush concerning the use of the mllitary. Captain Christenson does not recall there ever being a
public disagreement between the President and the Secretary. What is strange is that the press never
picked up on the disagreement Secretary Rumsfeld already knew about what the military had done and
was concerned about the |iabiiities. President Bush had to order Secretary Rumsfeid to send in the

erai Russel Honore and the troops arrived five days after Hurricane Katrina. General Honore

 

troops. Gen

 

 

 

Case1:1a-cv-09433-LGS Document 22 Filed12/12/1a Page-az of51

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confirmed to me that he was only responsible for what the military did after he arrived and not before,
He was adamant about that. Both he and Coast Guard Admiral iViary Landry lost promotions, their next
star and were forced to retire. Why the five day delay when plans and procedures require the securing
of an urban area within 72 hours after a catastrophe. There were several reasons for the delay. "The
Katrina Virus” would disperse. The DOD and the CIA, in connection with the United States Navy, could
clean up the mess without having the press around. it was brilliant the way the Federal Government
kept the press occupied with the rescue missions, the superdome and the convention center. Louisiana
Governor Kathieen Bianco was intentionally manipulated by the Federal Government and made into a
scapegoat. FENiA Director Niichael Brown was manipulated as weil.

The BP oil spil|. To be Written.

The Danziger Bridge. To be written.

Books Seven and Eight will start in September, 2005. The U$ Miiitary arrives in New Orieans in the days
preceding Hurricane Katrina. The units were issued millions of dollars in cash in satcheis. Confirmed by
Teresa lvici<ay, Director of Department of Defense Finance and Accounting Service (DFAS). Teresa’s
husband, ieffery Nlci(ay, and i attended the Air Force Academy together and were roommates in flight
schooi. il( works in the Pentagon and is also one of my sources. in the days following Hurricane Katrina
President Bush and Air Force One did a flyover of New Orieans but did not land. The White House issued
a press release stating that security was not in place and that the President’s landing would detract from
the rescue missions. As an Air Force Pilot l flew support missions for the President, Air Force One and
the Secret Service_ l am intimately familiar with their procedures and protocols. President Bush and Air
Force One did not land because The White House did not want to infect the President and his staff with
”The Katrina Virus” as was confirmed bv Ambassador Donaid Ensenat. Security was in place and Beiie
Chase Navai Air Station was operational and secure. The senior leadership in i\iew Orieans gave blood
and DNA samples. This as weil as other connections to "The Katrina Virus" were confirmed by Niayor Ray
Nagin. After the Hurricane, USAA insurance (A military insurance company run by Generals and
Admirals with strong ties to the Pentagon.} informed us that they would be paying our claim because of
the long term health issues that we would face. What did USAA know? in February, 2005 we purchased
a condominium, under fraudulent circumstances, from Louis lLee) Niadere. He was the Louisiana State
Grand iury Foreman for the Danziger Bridge lViurders. ll cannot invent the truth} The Catholic Church
had filed a class action video voyeurism lawsuit against him. iViadere entered the Federal Witness
Protection Program on October 15"‘, 2010 lThe important date from above.). Secretary of HUD, i\liayor
and lodge iVioon Landrieu, the father of Senator Mary Landrieu and Nlayor i\iiitch Landrieu, was a major

source of information.

State Farm insurance and the murder of prominent Los Ange|es attorney iames Robie of the Robie
Matthai Law Firm. To be written. Piease review your homeowners poiicy. The medical liability provision
of the homeownel’s policy is substantial larger than the property loss provision. A $100,000.00 home
could have a $5,000,000.00 medical liability provision. The loss to the insurance companies would be
trillions of dollars if it was shown that "The Katrina Virus” was reieased.

 

 

 

ease 1:1a-cv-o92133-LGS Document 22 Filed 12/12/18 Page 33 of 51

Attachment 4

 

 

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USCA Case #10-3052 Document #1?61272 Filed: 11l19i2018 Page l of 10

UNITED STATES COURT OF APP EALS
FOR THE D|STRICT OF COLUlV|B|A ClRCUlT

David Andrew Christenson, |Viovant lAmicus Curiae)

in Re: Grand iury investigation Case 18-3052

iustice iudith W. Rogers
iustice i<aren L. Henderson
.iustice Sri Srinivasan

Andrew Miiier - Appeiiant
V.

United States of America - Appeiiee

Supglementai l`vlotion for Leave to File One Time informative Pieading
[Piease file as Amicus Brief if needed)

by CC/ Attached is a letter sent to the panel.

GODSPEED.

    

David Andre »
Box 9063
lViiramar Beach, F|. 32550
504-715-3086
davidandrewchristenson@gmaii.com
dchristenson&@hotmall.com

SEI'V

 

 

 

 

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Case1:1a-cv-09433-LGS Document 22 Filed12/12l13 Page 35 of51 7 l l

USCA Case #18-3052 Document #1761272 Filed: 11i19l2018 Page 2 of 10 l
Judge iVierrick Garland .iustice Karen L. Henderson Clerk Niark Langer

DC Appeal Court DC Appeal Court DC Appeal Court

333 Constitution Ave. NW 333 Constitution Ave. NW 333 Constitution Ave. NW ,
Washington D.C. 20001 _ Washington, DC 20001 Washington, DC 20001 j
Justice Judith W. Rogers Justice Sri Srinivasan l
DC Appeal Court DC Appeal Court '
333 Constitution Ave. NW 333 Constitution Ave. NW

Washington, DC 20001 Washington, DC 20001

Reference: No. 18-3052 - USCA Case #18-3052 Document #1760340 Filed: 11/14/2018 Page 1 of 11
Amicus Brief filed by David Andrew Christenson.

Sorry for the new email address. iViicrosoft closed ali of my email accounts and in order to appeal you
must have a i\liicrosoft email address, which l created. The DO.| pressured llliicrosoft into closing my
email accounts and they compiled. This has repeatedly happened in the past.

Here is a recommendation about my Amicus Brief:

Order the Department ofiustice to respond.

Order the Speciai Counsel ta Respond.

Order Attorney General Matthew Whitaker to respond, personaiiy.

Order Assistant Attorney General for the Enviro nment and Naturai Resources Division Jeffery Bossert
C|ark to respond personally

Order Speciai Prosecutor/FB\ Director Robert iViueiier to respond, personally

These individuals criminally violated my Constitutiona| Rights which in turn criminally violated the
Constitutional Fiights of all Americans.

We are no better than the Saudis.

The Central intelligence Agency has concluded that the Saudi crown prince, ii/laharnmed bin $alrnan,
ordered the killing of the journalist iamal Khashoggi, according to American officials

Attachment 11 EDLA Case 2:12-cv-01910-SSV-JCW Document 1 Filed 07/23112 Page 18 of 66 - Start with
page 18, paragraph 31. They tased Federal Whlstieblower Coast Guard Commander Wiiliam Goetzee in
Federal Court while he was strapped to a wheelchair. Go back and read the entire complaint and you

will think you are in Nazi Germany.

 

 

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USCA Case #18-3052 Document #1761272 Filed: 11/19l2018 Page 3 of 10

|
Attachment 2: 14-10077 August 19th, 2015 Supreme Court Writ - Suppiementai Eight Coast Guard
Commander Wiiliam Goetzee was Nlurdered by the Department of iustice Extraordinary Writ with Writ

of Prohibition and Writ of Nlandamus Filed May 22nd, 2015

Attachment 4 The i\liurder of Coast Guard Commander Wiiliam Goetzee - |\liy background - David
Andrew Christenson

GODSPEED.

Sincereiy filed, in Proper Person,
David Andrew Christenson
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davidandrewchristenson@gmaii.cgrg
dchristensonG@hotmail.an_;

 

 

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 37 of 51

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L°REIctsss

UNlTED STATES DlSTRlCT COURT
EASTERN D|STRlCT OF LOUIS|ANA

MARGARET GOETZEE NAGLE and * ClVlL ACTION
JOHN ER|C GOETZEE
"' NUMBER:

d
VERSUS * SECT\ON; 12 - 1 9 ]_- 0 l .
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oR. cHARLes "MIKE" i-uooins.
oR. lose HAM, * MAGiSTRArE;
inner ANNE BEN|TEZ,

oARRvL Jnci<son.

LPN wALLAcE,

s. Pelvlao, s. sArler,

oAvio scHAlaLE, e. aARGKY, * civlL nisi-irs
c. JoHNsoN, FNP,

wARoEN cAnLos Louiaue1

Hoo wATci-i ooMMANoERs JoHN
ooEs l and \l, ser. NlcoLE HARR\s.

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ser Evenerr MARSHALL,
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DEPUTVSHEL[ACRADER * **'************
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i. luTRooucTioN

____________-_'

f. This case involves the tragic death on August 7, 2011 of iJ.S. Coast

Guard Commander Wiiliam (“Biii”) Goetzee. a 4B-year-oid federal career civilian

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...._ {.fthnDap
_ Doc. No.

 

 

 

 

 

 

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properly screen, evaluate or refer iilir. Goetzee for psychiatric elrrliuationl diagnosis or
treatrnent. Defendant LPN Wal|ace failed to properly or adequately address iilir.
Goetzee's report cf recent suicidal thoughts, his need for medication, or his obvious
physical injuryl Defendant LPN Waiiace was aware, must have been aware, or should
have been aware, that ivir. Goetzee was psychologically fragile, required psychiatric
evaluation, intervention and review of his medication status, yet failed to take
appropriate steps to insure that would occur.

30. Despite lvlr. Goetzee's condition, defendant LPN Waliaoe referred iillr.
Goelzee for housing in "generai population”. Defendant LPN Waiiace knew, must have
knownor should have known, at i\lir. Goetzee was at high risk of serious harm due to
his disability and his medical condition and that the jail lacked adequate and
appropriately trained staff and facilities to property tend to i\lir. Goeizee's medical needs
or to provide reasonable accommodations for his disabilities. Yet she failed to take
necessary and appropriate steps to insure that he was either referred to a hospital for
treatment or for medical clearance as to the appropriateness of housing him at the jaii,
or. if to be admitted to the jaii, that he was adequately and reasonably examined,
housed and treated and afforded reasonable accommodation for his disability and his
condition. -

31- lillr, Goetzee was booked into OPP and taken to Tempieman V, the
“federai tier'. The following moming he appeared in federal court for a first appearance

hearing. His medical and psychiatric condition had deteriorated ovamight and he was

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Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 33 of 51

 

Case #13-3 2 document #1761272 Filea; 11119r2018 Pageesci 10
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delusionai, combativel disoriented and non-responsive He had to be physically
1 restrained in a wheelchair. At some point he was tased. He had spent the night in the ®
jail with no medical treatment no medication and no appropriate intervention or
accommodation for his condition, thereby aggravating and worsening his condition.
On information and beiief, various deputies and other employees of the defendant
Sheriff, acting in the course and scope of their employment1 knew, must have known or
should have known that Mr. Goetzee was in serious need of medical attention. yet failed
to report or seek appropriate care for him during this lime. _A
32. Mr. Goeizee was removed from federal court and returned to the jail,
where he received a “Psychiatn'c NursingliiriA Assessment" for the nrst time while in
custody. due to “su`rcidai ideation", end referred to University Hospital by defendant Dr.
Hi|gins. through a verbal order to defendant E. Bargky, LPN. to “Rule Out Delirium".
By that time, he had blood pressure of 181!122,, a pulse rate of 128, respiration rate of
20 and a temperature of 1 00.1. His allergy to prednisone was noted at this time, as was
the fact that he was without any medication His skin was warm and moist to touch. He
was described as oriented 0X1, oriented as to name oniy, a marked deterioration of the
AAOXS orientation described at lntake by defendant LPN Waiiaoe. The Nurse Notes
completed by defendant Bargky identified his name as “\Niiiiam Wesiey’. despite the
booking information which gave his name as “Goetzee, Wiiliam W.” This error

regarding his name persisted through his hospitalization at University and when he

returned to the jaill causing confusion and inconsistencies in his medical treatment He

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USC?‘Case #18-3 2 Document #1761272 Filed: 11119/2018 Page 7 of 10

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merit

14-10077
Augusc 19“‘, 2015
Supplemental Eight
Coast Gu ard Commander Wiiliam Goetzee was Murdered by the Department of .iustice
Extraordinary Writ with Writ of Prohibition and Writ of Nlandamus
Filed wray 22““, 2015

Coast Guard Commander Wi||iam Goetzee was Nlurdered by the Department of.lustice. The same
process was used on me four months prior. When you read the complaint you will think you are in Nazi

Germany.

Notice that the Goetzee family did not sue the Federal Government. Why? He was arrested on a Federal
Warrant and held in Federal custody. The complaint was filed in Federal Court.

Everything the Department ofiustice put in the public domain was a iie.

i was never charged with a crime. i was arrested on a Louisiana Warrant and not Federal. Why? 11 days
in isolation being medicated against my wili. Having a 9mm put to my forehead by an FBI Agent who
threatened to kill me if l did not stop. He bragged about how he would get away with it and l knew that
he was right. Stupid me for believing in the oath that l took.

Attachments

A1 Page 18 and 19, item 31, of the Goetzee family complaint The Coast Guard Commander was
strapped to a wheelchair in Federal Court and tased. The entire complaint is AS.

AZ Letter drafted (2011) by me about ‘”l' he Niurder of Coast Guard Commander Wiiliam Goetzee” and
the background between us. The entire package is A4.

AB Letter drafted by me on 08/09/2011 to Chief Justice John Roberts. This letter is part of A4.
Ali 16 pages. "The lViurder of Coast Guard Commander Wiiliam Goetzee"

A5 66 pages. The Goetzee family Federal Complaint.

The Supreme Court ofthe United States of America has granted authority to the Department of,lustice

to execute and assassinate Americans who are exercising their Constitutional Rights, especially Federal

Whist|eblowers such as me.
Ali Americans deserve the protection ofthe Supreme Court.

is this really the world that the Supreme Court wants?

 

 

 

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USC Case #18t 3 2 Doctrment#1761272 Filed: 11/19/2018 Page 8 of 10 ,

Attac ment

Sincereiy filedl

in Proper Person and Pro Se, |
i
|
|

David Andrew Christenson
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lViiramar Beach, Fl. 32550
504-715-3086, davidandrewchristenson@hotmail.com

CERTlFlCATE OF SERV\CE
t 19"`, 2015 l filed the foregoing with the C|erk of Court and

l hereby certify that on Augus
e-maii including:

served the pleading on all counsel of record by
Solicitor General Donaid B. Verriiii .ir.
Counse| of Record United States Department ofJustice
950 Pennsy|vania Avenue, N.W.
Washington, DC 20530-0001

SupremeCtBriefS@USDO.l.ggv {202) 514-2217

 

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|
r
David Andrew Christenson |
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Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 sage-212 or 51

USC?_\CaSe #18-3(§2 Document #1761272 Filed: 11119/2018 Page 9 of 10
tEiC merit

The Murder of Coast Guard Commander Wi||iam Goetzee
|V|y background

l was held on the 10“‘ floor of the House of Detention in the Orieans Parish Jail. This is the
psychiatric floor. Suicidal prisoners are held here. in my case (not suicidal) l was placed in isolation and
medicated against my will and knowledge This was torture. The Federal Government was hoping that l
would kill myself. The conditions are deplorable. The lights are orr 24 hours a day. The noise from the
fans and televisions is deafening. if you are not crazy when you go in, you are when you come out. l
stopped eating and drinking. The only thing l consumed was water. The drugs they give you can actually
trigger a psychosis, depression, etc. The ”suicide watch" cell has nothing in it but a bench. There is no
toilet. There is no toilet paper. When you are on suicide watch you wear a kevlar type vest that goes
from your shoulders to your knees and nothing else. There was a young black kid in the "suicide watch”
cell while l was there. He continually defecated on himself and the stench was unbelievab|e. Nobody
helped him. |worrled about him and l wonder what happened to him.

The Federal Government did everything possible to paint me as crazy and to discredit me. They

l believe the story about Goetzee and his arrest was a

have done the same to Commander Goetzee.
wanted to isolate and silence Commander Goetzee. He

fraud, a fabrication. The Federal Government
was murdered. l was lucky.

Attachment 1: Coast Guard Commander Wiiliam Wesiey Goetzee’s Obituary.

Commander Goetzee had quite a background. He was not indigent | would assume he had
health insurance as he was an employee of the Federal Government. He worked in the same building as
the Federal Courthouse, US Attorney, US lViarshal's office, etc. There was extremely heavy security at

the building that clay because of the Danziger Bridge Trial.

Attachment 2: Article.

Commander Goetzee "reported episodes of suicidal ideation...”. The man needed help. What
| could not invent this. The Federal Government, US Nlarshal

medication was he being forced to take?
n a jail that was condemned in 2009 by the lustice

Service, places Federal suicidal prisoners i
Department. "The Justice Department criticized the mental health care provided by the institution,

including its suicide~prevention practices.” Why was Commander Goetzee appointed a Federal Public
Defender? He was a person of means. The Department of Justice wanted to control him just like they did

me when they appointed US Attorney Billy Gibbens to represent me.

Attachment 3: Ar'ticle.

Could you invent this? ”lnvestigators say Goetzee had been swallowing toilet tissue throughout the

day". Are you kidding me?

 

 

 

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USCPHZase #18-€0§ Document #1761272 Filed: 11/19)'2018 Page 10 of 10
taC men ~

Attachment 4: Ar'ticle.

See the last page, 3. “N|argaret Nagel, his sister, said that after his arrest, she was unable to get
any information about his condition or even where he was being he|d." lt is important to note that the
Coast Guard provided official notification of Commander Goetzee's death. This notification was
improper unless he died during active duty. This was very odd and suspicious. By law The US Nlarshal
Service should have provided notification since he was in their custody. Note that he vvas working on the

ElP oil spill.
Attachment 5.

Court document detention hearing. Why was Commander Goetzee not at his detention
hearing? Why did he not have private counsel. He had been charged and had not entered a plea. The
Federal Government wanted him isolated. The man needed help and had the resources Commander
Goetzee was entitled to bond and should have been released within 72 hours. His family and fiancee
could have helped him. Why did his peers in the Coast Guard not help him? They worked with him for 10

years. (Truth about the BP oil spill?)

Attachment 6.

Again could you invent the truth? Review the second page. He did not want to cause harm to
anyone but himself. Goetzee exc|aimed ”l want to kill myself, give me your gun.” Was he crying out for
help or was this an attempt to discredit him? Do you know how hard it is to take a gun from a man

sitting down in a car?

Attachment 7.

An email from me to multiple Federal Courts in the Eastern District of Louisiana.

Attachment B.

Letter/Fax to the United States Supreme Court. | have only included one of the many letters that

| wrote to the Supreme Court.

Sincerely,
David Christenson
”`l‘he Reluctant Patriot"

 

 

 

 

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Attachment 5

 

 

Case 1:18-cv-09433-LGS Documentzz' Filed12/12/13 Page 45 of51 n " il

UN|TED STATES COURT OF APPEALS
FOR THE D|STRiCT OF COLUMB|A C|RCU|T |

David And rew Christenson, |Vlovant (Amicus Curiae)

in Re: Grand Jury investigation Case 18-3052

Andrew l\/li|ler - Appellant Justice Judith W. Rogers
justice Karen L. Henderson

v. lustice Sri Srinivasan

United States of America -Appellee

Errata to Complete the Record - File as Amicus Brief

The following attachments were sent to the (Special) Grand Jury being used by Special Counsel Robert
i\/lue|ler- United States District Court for the District of Columbia & United States District Court for the

Eastern District of Virginia

Attachrnent 1: January 16"`, 2018 - 91 pages
Attachment 2: January 25"‘, 2018 ~ 14 pages
Attachment 32 January 28“‘, 2018 - 71 pages
Attachment 4: January 30"", 2018 - 4 pages
Attachment 5: January 29“‘, 2018 - 2 pages

GODSPEED.
Sincereiy filed, in Proper Person,

David Andrew Christenson

Box 9063

lViiramar Beach, Fl. 32550
504-715-3086
davidandrewchrlstenson@gmai|.com

dchristenson6@hotmali.com

CERT|F|CATE OF SERVlCE
l hereby certify that on.November 27“‘, 2018 l filed the foregoing With the Clerk of Court and
served the pleading on ali counsel of record by eprnail.

 

 

 

David Andrew Christenson

 

 

rCaSe 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 46 of 51

Attachment 6

 

 

Case 1:18-cv-09433-LGS Document 22 Filed 12/12/18 Page 47 of 51

My books have been removed/censored/sanitr`zed from the Lr'brory of Congress Aii references to me and
my books have been removed/censored/sonr'tizedfrom the Librory of Congress. My books have Lr`brory of
Congress Control Numbers (LCCN). This book was placed into the tibrory of Congress r'n 2012.

The United States Supreme Court and The Katrina Virus
A Preiude/Reference Book/Appendix - Book 7

By David Andrew Christenson l
iseN 973-0-9845893-3-5 Hardbacl< sci<v l
isen 978-0-9846393-9-2 Eacol< sckv i
LCCN 2012933074 y

Copyright 1-724163643

Persimmon Pub|ishing

Box 9063

lViiramar Beach, Florida 32550

An Epic Constitutional Crisis. l am talking about the political destruction of all three branches (Executive,
judicial and Legisiative) of our Federal Government. One hundred and fifty five million Americans and

Canadians may be infected with The Katrina Virus. Did the United States Supreme Court participate in
le terms it means that you had knowledge of

the criminal cover-up? l\/lisprision is a crime/feiony. in simp
a crime and did nothing. Did the Supreme Court have knowledge? YESi i gave them the knowledge The
real question is: what did the Supreme Court do with the knowledge of The Katrina Virus and the cover-

up?

There was no simple way to present this story. i fully acknowledge that the material is presented in an

incoherent manner. What you are reading is a compilation of my communications with the Supreme
Court since my arrest for cyberstaiking FBi Speciai Agent Steven Rayes on lViarch 15“‘, 2011. it must be
emphasized that i was arrested on a Louisiana Warrant inot a Federal Warrant as one would expect.)

and i have never been charged with a crime. A Louisiana Search and Seizure Warrant was used by the

FBi to steal my evidence, documentation, etc. of what happened in New Orieans after Hurricane Katrina.

ms chemical warfare contaminates were released from DOD and ClA classified facilities.

in simplistic ter
|ation of Federal Law and killed

The United States lViiiitary conducted operational missions in vio
Americans. 1500 Americans are still missing. Were the contaminated bodies recovered, analyzed and
fthe bodies being kept alive in vegetative states

burned in Federal Government incinerators? Are some o
cts of the Katrina Virus? {Remember the

so that the Federal Government can study the long term effe
Syphilis Studies in Alabama and Guatemaia.)

This is a Preiude/Reference Book/Appendix. The end of the story has not been written. ludgment must
not be passed upon the Supreme Court at this time. The Supreme Court may have actually protected
me. Think about it. Who could the Supreme Court have turned to? Congress and the Executive Branch
are responsible for the murder, genocide, treason and crimes against humanity. The only option for the
Supreme Court may have been to provide me with the protection needed, to not only uncover the truth
about the Katrina Virus, but to bring it to the attention of American and Canadian people.

 

 

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Attachment 7

 

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UN|TED STATES D|STRICT COURT

THE D|STRlCT OF COLUlVlB|A
iviovant David And rew Christenson Civ. No. 1:18-cv-02664-RD|V|
Senator Richard Biumenthai, et ai., Complaint for Deciaratory and
Piaintiff injunction Reiief
v. judge Randoiph D. iVioss
lVlatthew Whitakerr et ai.,
Defendants

Amicus

 

The irony is that this case is about The Affordabie Care Act and severe election tampering via censorship.
Our government social media and media report in a one~dimension world. We live in a multi-dimension
world that requires free speech if we are to survive. l admit that there is no way to report this
information in a coherent manner. Review the letter and four-page docketed pleading to judge john G.
i(oeiti US District Court SD New York 500 Pearl Street New York, i\iY 10007-1312 Attachment 1

A Christmos Corol in Prose; Being cr Ghost Story of Christmos by Chories Dickens
Jocob ii/iorley ”Monkind was my business The common welfare was my business,' chorr'ty, mercy, '
forbearance, ono' benevolence, were, oli, my businessl The dealings of my trade were but o drop of water
in the comprehensive ocean of my businessl”

iS MANK|ND ¥OUR BUS|NESS OR NOT?

Similar O_uestions of the Ruie of Law - Reference: _ l
in re: Gra nd jury investigation (18-3052) Court of Appea|s for the D.C. Circuit `
Democratic National Committee v. The Russian Federation (1:18-cv-03501} District Court, S.D. New Vork

Christenson v. Democratic National Committee il:lB-cv-05769) District Court, S.D. New York

Christenson v. Democratic National Committee (18-2145i Court of Appeais for the Second Circuit

State of iViary|and v. United States of America (1:18-cv-02849) District Court, D. Niaryiand

Supreme Court Writ No. 18-496 Barry l\/iichaei v. Jefferson B. Sessions |ii Attorney General of the United

States - i\/iotion to Substitute

Attachment 2: Writ/Amicus Brief lin the most simplistic termsi in re: Grand jury investigation (18-3052)
Court of Appea|s for the D.C. Circuit

Attachment 3: l\/iotion for Leave to File One Time informative Pleading (Piease file as Amicus Brief if
needed) in re: Grand Jury investigation (18»3052) Court of Appeais for the D.C. Circuit

_ Attachment 41 Suppiementai iViotion for Leave to File One Time informative Pleading (P|ease file as
Amicus Brief if needed) in re: Grand jury investigation (18-3052) Court of Appeals for the D.C. Circuit

Attachment 5: Errata to Complete the Record - File as Amicus Brief in re: Grand lury investigation
(18-3052) Court of Appeals for the D.C. Circuit

 

 

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Attachment 6: The United States Supreme Court and The Katrina Virus by David Andrew Christenson
"i\/ly books have been removed/censored/sonitized from the lerory of Congress Ail references to me and
my books have been removed/censored/sonitized from the Librcrry of Congress My books have l_ibrory of
Congress Control Nurnbers (LCCN). This book was placed into the Libro'ry of Congress in 2012."

Attachment7: Amicus - State of i\/iaryiand v. United States of America (1:18-cv-02849) District Court, D.
i\/|ary|and

Godspeed
Sincereiy,

David Andrew Christenson

Box 9063

lViiramar Beach, Florida 52550
504-715-3086
davidandrewchristenson@gmail.com_'L
dchristensoni§@hotmaii.cc@;

CERTiF|CATE OF SERV|CE
l hereby certify that on December 2“d, 2018 l filed the foregoing With the Clerk of Court and
served the pleading on ali counsel of record by e-maii and first-class mail.

 

David Andrew Christenson

 

 

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